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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

CLARENCE WAYNE PYLE                                   §
    Plaintiff,                                        §
                                                      §
VS.                                                   §
                                                      §            CIVIL ACTION NO.
METROPOLITAN LLOYDS INSURANCE                         §            ___________________
COMPANY OF TEXAS                                      §
                                                      §
        Defendant.                                    §



              DEFENDANT METROPOLITAN LLOYDS INSURANCE COMPANY
                         OF TEXAS’ NOTICE OF REMOVAL


TO THE HONORABLE COURT:

        Pursuant to 28 U.S.C. Sections 1441 and 1446, Defendant Metropolitan Lloyds Insurance

Company of Texas (“Metropolitan Lloyds”) in Cause No. 15-02-01909, pending in the 284th

Judicial District Court of Montgomery County, Texas, files this Notice of Removal from that court

to the United States District Court for the Southern District of Texas, Houston Division, on the basis

of diversity of citizenship and amount in controversy and respectfully shows:

                                           I.
                                  FACTUAL BACKGROUND

        1.1     On February 25, 2015, Plaintiff Clarence Wayne Pyle (“Plaintiff”) filed his

Original Petition in the matter styled Clarence Wayne Pyle v. Metropolitan Lloyds Insurance

Company of Texas, Cause No. 15-02-01909, in the 284th Judicial District Court of Montgomery

County, Texas, in which Plaintiff asserts Defendant wrongfully denied Plaintiff’s claims for

damages to his home and other property under a homeowners insurance policy issued by

Defendant Metropolitan Lloyds Insurance Company of Texas (“Metropolitan Lloyds”) arising

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from alleged damage to his home and other property caused by a storm that hit the Conroe,

Texas area. In addition, Plaintiff also asserts various generic claims against Defendant under the

Texas Insurance Code and Texas Deceptive Trade Practices Act.

        1.2     Plaintiff served the registered agent for Metropolitan Lloyds with the citation and

Plaintiff’s Original Petition on March 10, 2015. Defendant Metropolitan Lloyds files this Notice

of Removal within the thirty-day time period required by 28 U. S. C. Section 1446(b). Attached

hereto as Exhibit “1” is the Index of State Court Documents. A copy of the Montgomery County

Clerk’s file for this case is attached as Exhibit “2”, which includes true and correct copies of all

executed process, pleadings and orders, and a copy of the docket sheet. Attached hereto as

Exhibit “3” is the Designation of Counsel.

                                             II.
                                     BASIS FOR REMOVAL

        2.1     Removal is proper based upon diversity of citizenship under 28 U.S.C.

§§ 1332(a)(1), 1441(a), and 1446.

        A.      THE PARTIES ARE OF DIVERSE CITIZENSHIP

        2.2     Upon information and belief, and as plead in his Original Petition, Plaintiff

Clarence Wayne Pyle is, and was at the time the lawsuit was filed, a resident of the State of

Texas. See Plaintiff’s Original Petition at p. 2.

        2.3     Defendant Metropolitan Lloyds Insurance Company of Texas Lloyds is an

unincorporated association of underwriters whose individual underwriters are citizens of the States

of Rhode Island and Wisconsin and are not residents or citizens of Texas. Metropolitan Lloyds is

therefore not a citizen of the State of Texas for diversity purposes.




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           2.4   Because Plaintiff is a citizen of Texas, and Defendant Metropolitan Lloyds, is a

citizen of Rhode Island and Wisconsin, complete diversity of citizenship exists among the

parties.

           B.    THE AMOUNT IN CONTROVERSY EXCEEDS THE JURISDICTIONAL
                 REQUIREMENTS FOR SUBJECT MATTER JURISDICTION.

           2.5   The amount in controversy requirement for Federal diversity jurisdiction is clearly

satisfied in this case as evidenced by Plaintiff’s Original Petition in which Plaintiff expressly

alleges that he “seeks monetary relief over $100,000.00 but no more than $200,000.00.” See

Original Petition at page 1. This amount clearly exceeds the jurisdictional requirements for

subject matter jurisdiction, and demonstrates that the amount in controversy requirement is

satisfied.

                                       III.
                      THE REMOVAL IS PROCEDURALLY CORRECT

           3.1   Defendant Metropolitan Lloyds was first served with Plaintiff’s Original Petition

and process on March 10, 2015. Defendant files this notice of removal within the 30-day time

period required by 28 U.S.C. § 1446(b).

           3.2   Venue is proper in this District and Division under 28 U.S.C. §1446(a) because

this District and Division include the county in which the state action has been pending and

because a substantial part of the events giving rise to Plaintiff’s claims allegedly occurred in this

District and Division.

           3.3   Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice.

           3.4   Pursuant to 28 U.S.C. §1446(d), promptly after Defendant files this Notice,

written notice of the filing will be given to Plaintiff, the adverse party.


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        3.5     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal

will be filed with the Clerk of the Montgomery County District Court, promptly after Defendant

files this Notice.

                                    IV.
               DOCUMENTS AND EXHIBITS ACCOMPANYING REMOVAL

        4.1     Simultaneously with the filing of this Notice of Removal, attached hereto as Exhibit

“1” is an index of all documents filed in the state court action and a copy of each document.

        4.2     Attached hereto as Exhibit “2” is a copy of the Docket Sheet of the case pending

in 236th Judicial District Court of Montgomery County, Texas.

        4.2A    Attached hereto as Exhibit “2” is a copy of Plaintiff’ Original Petition with Civil

Case Information Sheet.

        4.2B    Attached hereto as Exhibit “2” is a copy of the Civil Process Request Form

requesting service to be issued to Defendant, Metropolitan Lloyds Insurance Company of Texas

with service by certified mail.

        4.2C    Attached hereto as Exhibit “2” is a copy of the USPC Certified Mail label from

Montgomery County District Clerk to Metropolitan Lloyds Insurance Company of Texas dated

February 27, 2015.

        4.2D    Attached hereto as Exhibit “2” is a copy of Defendant Metropolitan Lloyds’

Original Answer.

        4.3     Attached hereto as Exhibit “3” is the Designation of Counsel.

                                             V.
                                         CONCLUSION

        5.1     Based upon the foregoing, and other documents filed contemporaneously with

this Notice of Removal and fully incorporated herein by reference, Defendant, Metropolitan



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Lloyds Insurance Company of Texas hereby removes this case to this court for trial and

determination.

                                           Respectfully submitted,



                                           /s/Daniel P. Buechler
                                           Daniel P. Buechler
                                           State Bar No. 24047756
                                           Molly E. Raynor
                                           State Bar No. 24068609

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                                           ATTORNEYS FOR DEFENDANT
                                           METROPOLITAN LLOYDS
                                           INSURANCE COMPANY OF TEXAS



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 9, 2015, I served the following document on counsel via
electronic notice and/or certified mail, return receipt requested:

        Richard D. Daly
        John Scott Black
        Ana M. Ene
        William X. King
        DALY & BLACK, P.C.
        2211 Norfolk St., Suite 800
        Houston, TX 77098



                                            /s/Daniel P. Buechler
                                           Daniel P. Buechler




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